

People v Hinton (2024 NY Slip Op 02484)





People v Hinton


2024 NY Slip Op 02484


Decided on May 3, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 3, 2024

PRESENT: LINDLEY, J.P., OGDEN, GREENWOOD, DELCONTE, AND KEANE, JJ. (Filed May 3, 2024.) 


MOTION NO. (1542/02) KA 00-00528.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vROBERT HINTON, DEFENDANT-APPELLANT. (APPEAL NO. 2.)



MEMORANDUM AND ORDER
Motion for writ of error coram nobis and other relief denied.








